  Case 17-29532      Doc 24   Filed 12/15/17 Entered 12/15/17 19:24:59                  Desc Main
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                     Eastern Division

In Re:                                                      )   BK No.:      17-29532
JOHN BREUGELMANS,                                           )
                                                            )   Chapter: 7
                                                            )
                                                                Honorable A. Benjamin Goldgar
                                                            )
                                                            )   Lake County
                                    Debtor(s)               )
                                                            )   Adv. No.:
                                                            )
                                                            )
                                    Plaintiff(s)
                                                            )
                                                            )
                                                            )
                                    Defendant(s)            )

ORDER FOR TURNOVER OF CHECKING ACCOUNT PURSUANT TO SECTION 521(a)(4)

        This cause coming on to be heard upon the Motion of Joseph E. Cohen, Trustee herein, by and
through his Attorney, Joseph E. Cohen of COHEN & KROL, due notice having been given to all parties
in interest and the Court being fully advised in the premises, NOW THEREFORE:

       IT IS HEREBY ORDERED:

       That the Debtor is to immediately turnover to the Trustee the net sum of $13,164.34 consisting of
the funds contained in the Debtor's First American Bank checking account on the date of filing.




                                                         Enter:


                                                                    Honorable Donald R. Cassling

Dated: December 15, 2017                                            United States Bankruptcy Judge

 Prepared by:
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